       Case 4:15-cr-06012-EFS        ECF No. 69   filed 08/31/15    PageID.152 Page 1 of 1




1
2                          UNITED STATES DISTRICT COURT
3               EASTERN DISTRICT OF WASHINGTON
4 UNITED STATES OF AMERICA,       No. 4:15-CR-6012-EFS-1

5                       Plaintiff,                  ORDER ON ARRAIGNMENT AND
6                                                   DENYING MOTION TO MODIFY
     vs.                                            CONDITIONS OF RELEASE
7
8 ROCKY LOZANO,
9
                        Defendant.
10
           At Defendant’s August 31, 2015 Arraignment based on the Superseding
11
     Indictment, Defendant appeared, in custody, with Robert J. Thompson. Assistant
12
     U.S. Attorney Mary K. Dimke represented the United States.
13
           Defendant was advised of, and acknowledged, Defendant’s rights.
14
           Defendant, on Defendant’s plea(s) of not-guilty, is bound over to the United
15
     States District Court for trial. The Court directs the parties to review the Local
16
     Criminal   Rules    governing      discovery    and    other    issues   in   this   case.
17
     http://www.waed.uscourts.gov/court-info/local-rules-and-orders/general-orders.
18
           Defendant’s Motion to Modify Conditions of Release (ECF No. 60) is
19
     DENIED. As the Defendant is not on GPS monitoring, but rather electronic home
20
     monitoring, Defendant’s request “to have the GPS monitor taken off” and/or to
21
     permit him to travel “without the hindrance” of any type of electronic monitoring
22
     is DENIED. It is the Court’s understanding the Defendant has local employment
23
     available to him. Defendant shall remain on release under the conditions
24
     previously set by the Court.
25
            DATED August 31, 2015.
26                               _s/James P. Hutton
27                              JAMES P. HUTTON
                    UNITED STATES MAGISTRATE JUDGE
28



     ORDER - 1
